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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                     Case No. 11-20129

 SCOTT WILLIAM SUTHERLAND, et al.,

               Defendants.
                                                   /

  ORDER OVERRULING “ADDICT-INFORMANT” JURY INSTRUCTION OBJECTION

        Before the court is a notice as to jury instructions, filed by Defendant Patrick

 Michael McKeoun on January 14, 2015 on behalf of all Defendants (Dkt. # 1185).

 Defendants request the inclusion of Sixth Circuit Criminal Pattern Jury Instruction 7.06B,

 Testimony of an Addict-Informant Under Grant of Immunity or Reduced Criminal

 Liability.1 The court directed further briefing on the issue, which the government (Dkt. #

 1192) and Defendants (Dkt. # 1195) filed on January 15, 2015.

        Sixth Circuit Criminal Pattern Jury Instruction 7.06B would instruct the jury to

 consider addicts’ “testimony with more caution than testimony of other witnesses.” 6th

 Cir. Crim. PJI 706.B(2). However, there is “no per se rule requiring that an

 addict-informant instruction be given in all cases involving the testimony of an


        1
         The Notice also reiterates its objection to the exclusion of certain language from
 Sixth Circuit Pattern Jury Instructions 1.03 and 8.04, which were requested in Dkt. #
 1161. As Defendants note, these instructions have been the subject of discussions with
 the court both on and off the record and the court has expressed its intention to use its
 standard instructions. The “notice is to provide specific objections of the Defendants as
 to [these] jury instructions explicitly on the record for consideration.” (Dkt. # 1185, Pg ID
 13800.) To the extent the objections were not overruled on the record, they are
 overruled here. The court’s standard instructions regarding reasonable doubt and
 deliberations are an accurate expression of the law and the court will rely upon them.
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 addict-informant.” United States v. Brown, 946 F.2d 1191, 1195 (6th Cir. 1991)

 (superseded by constitutional amendment on other grounds as stated in United States

 v. Armour, 38 F.3d 1217 (6th Cir. 1994) (unpublished opinion)). If “the jury kn[o]w[s]

 that the witnesses were drug users, evidence corroborate[s] their testimony, and the

 court instruct[s] the jury specifically to consider these witnesses’ testimony with caution”

 for some other reason, such as their status as a paid informant, then an addict-

 informant instruction is unnecessary. United States v. Combs, 369 F.3d 925, 940 (6th

 Cir. 2004); see also United States v. McGhee, 882 F.2d 1095, 1100 (6th Cir. 1989)

 (finding that “a comprehensive general instruction on the credibility of all witnesses and

 a specific instruction about the credibility of government informers . . . provided

 sufficient protection against the possibility of unfair prejudice”).

        Such is the case here. It is undisputed that multiple witnesses used drugs during

 the time periods about which they testified. As defendants note, the record is replete

 with examples of witnesses admitting to their drug use. However, defendants do not

 cite any uncorroborated testimony from these witnesses. Furthermore, the court will

 give an instruction on “Testimony of Paid Informants and Witnesses Under Promise of

 Reduced Criminal Liability” based on Sixth Circuit Pattern Jury Instructions §§ 7.06A,

 7.07. See Dkt. # 1169-1, Pg ID 13611. This instruction adequately warns the jury to

 “consider such witnesses’ testimony with more caution than the testimony of other

 witnesses.” Id. Consistent with Combs, this instruction, combined with ample

 corroboration, renders superfluous the requested addict-informant instruction.




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            Accordingly, IT IS ORDERED that Defendants’ objection (Dkt. # 1185) is

 OVERRULED.



                                                                    s/Robert H. Cleland
                                                                    ROBERT H. CLELAND
                                                                    UNITED STATES DISTRICT JUDGE

 Dated: January 16, 2015

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, January 16, 2015, by electronic and/or ordinary mail.

                                                                    s/Lisa Wagner
                                                                    Case Manager and Deputy Clerk
                                                                    (313) 234-5522


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